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                                                                               9/17/2019


                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             HELENA DIVISION

 UNITED STATES OF AMERICA,                             CR-19-01-H-CCL

                                  Plaintiff,

     vs.                                                      Order

 HUGO YANEZ, BREANNE MARIE
 BAME, TAVIA DION BLUME, and
 KYLE DOUGLAS ALVERSON,

                              Defendants.

      Defendant Yanez appeared before United States Magistrate Judge Johnston

for his arraignment on September 5, 2019, and Judge Johnston granted his request

to reserve his right to request a detention hearing. Accordingly,

      IT IS HEREBY ORDERED that Defendant Yanez's Unopposed Motion for

Detention Hearing (Doc. 85) is referred to Judge Johnston to set a hearing date and

to hear and decide the detention issue. The Clerk shall notify Judge Johnston and

counsel of entry of this order.

      Dated this   /4--1-/;Y of September, 2019.
